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UNITED STATES DISTRICT C()URT

DISTRICT OF NEVADA
UNITED STATES OF AMERICA, ) 2:16-CR-070-Gl\/H\I-(VCF)
Plaintiff, §
v. i Final Order ot`Forfeiture
CURTIS POPE, i
Defendant. §

 

 

 

This Court finds that defendant Curtis Pope pled guilty to Count One of a Four~Count
Criminal Indictment charging him with Conspiracy to Cornmit Wire Fraud in violation of Title
18, United States Code, Sections 1343 and 1349. Criminal Indictment, ECF No. 1; Change of
Plea, ECF No. 37; Plea Agreement, ECF No. 39.

This Court finds defendant Curtis Pope agreed to the imposition of the in personam
criminal forfeiture money judgment of $40,001 set forth in the Plea Agreement (ECF No. 39).

The in personam criminal forfeiture money judgment is any property, real or personal,
which constitutes or is derived from proceeds traceable to violations of Title 18, United States
Code, Section 1343, a specified unlawful activity as defined in Title 18, United States Code,
Sections 1956(c)(7)(A) and l%l(l)(B), or Title 18, United States Code, Section 1349,
conspiracy to commit such offense, and is subject to forfeiture pursuant to Title 18, United States
Code, Section 981(a)(l)(C) with Title 28, United States Code, Section 2461(€) and Title 21,

United States Code, Section 853(p); and if as a result of any act or omission of the defendant, the

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a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled With other property which cannot be divided
without difficulty;

it is the intent of the United States of America, pursuant to Title 21, United States Code, Section
853(p), to seek forfeiture of any property of the defendant for the in personam criminal forfeiture
money judgment of $40,001.

This Court finds that Curtis Pope shall pay an in personam criminal forfeiture money
judgment of $40,001 to the United States of America, pursuant to Fed. R. Crim. P. 32.2(b)(l)
and (2); Title 18, United States Code, Section 981(a)(l)(C) with Title 28, United States Code,
Section 2461(0); and Title 21, United States Code, Section 85 3(p).

This Court finds that the United States of America may amend this order at any time to
add subsequently located property or substitute property to the forfeiture order pursuant to Fed.
R. Crim. P. 32.2(b)(2)(C) and 32.2(e).

The in personam criminal forfeiture money judgment complies with Honeycutt v. United
Sl'ates, WU.S.W, 137 S. Ct. 1626 (2017).

THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the
United States recover from Curtis Pope the in personam criminal forfeiture money judgment of
$40~001 pursuant to Fed. R. Crirn. P. 32.2(b)(4)(A) and (B); Title 18, United States Code,
Section 981(a)(l)(C) with Title 28, United States Code, Section 2461(<:); and Title 21, United
States Code, Section 853(p).

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IT lS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send copies
of this Order to all counsel of record and three certified copies to the United States Attorney’s
Office, Attention Asset Forfeiture Unit.

DATED this g day 6r , 2013.

 

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UNITEDWTES DISTRICT JUDGE

 

